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IN THE UNITED sTATEs DIsTRIcT COURT F”‘ED BY D C
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EASTERN DlvlsloN 47 3! AH 9, 07
FTUTJ'¢;¢'~]
RDI
MARQUINTAS D. WALKER, ) WCLER§; U.S DmOUTO
> FTN JAC CKS<)N
Plaintiff, ]
)
v. ) Civil Action 1-04-1 176-T/AN
)
PORTER cABLE / DELTA, )
)
Defendant. )
. ."F: )

'.. ...
¢ z...,,

§A‘-

"' ORDER GRANTING JOINT MOTION TO AMEND SCHEDULING ORDER

 

r"-;__}.This cause came on for consideration by this Court on the Joint Motion to Amend the
Scheduling Order filed by the parties in this civil action from all of which it appears to this Court
that for good cause shown said motion is well taken and should be granted
The discovery deadline is hereby extended from May 28, 2005, to 2
and the dispositive motion deadline is hereby extended from June 28, 20 to

IT IS SO OREDERED this ;QZE day of May, 2005.

S. THOMAS ANDERSON
UNITED STATES MAGISTRA'I`E JUDGE

Thls document entered on the docket sheet ln compliance

with nme ss and/or rs (a) FRcP on _M @

   

UNITD sATES DISTRIC COURT - WTERN DISITRCT OF TENNESSEE

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Honorable J ames Todd
US DISTRICT COURT

